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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 14-60611-CIV-ROSENBERG/BRANNON

  OLGA ROSALES,

         Plaintiff,

  v.

  MSC CROCIERE, S.A., a foreign
  Corporation,

        Defendant.
  ______________________________/

                 DEFENDANT’S RESPONSE IN OPPOSITION TO
             PLAINTIFF’S MOTION TO ALLOW JURY TRIAL AND/OR
         MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSE NO. 20

         Defendant, MSC CROCIERE, S.A. (“MSC”), hereby submits its Response in Opposition

  to Plaintiff’s Motion to Allow Jury Trial And/Or Motion to Strike Defendant’s Affirmative

  Defense No. 20 (DE 55) and states as follows:

         1.      There is no protected right to a jury trial in an admiralty dispute. Beiswenger

  Enterprises Corp. v. Carletta, 86 F.3d 1032, 1037 (11th Cir.1996) (“... as in all admiralty cases,

  there is no right to a jury trial.”); Fed.R.Civ.P. 38(e) (“These rules do not create a right to a jury

  trial on issues in a claim that is an admiralty or maritime claim under Rule 9(h)”).

         2.      Further, the Terms and Conditions of the passage contract (which was produced

  by Plaintiff during discovery and attached to her Complaint) also preclude a jury trial:

         21. JURISDICTION
                         ***
         (B) For Voyages that include a port in U.S.A., all claims arising out of this
         Contract shall be brought in, and be subject to the exclusive jurisdiction of the
         U.S. District Court for the Southern District of Florida. It is expressly agreed that
         all disputes shall be tried by a Judge without a Jury as an Admiralty and Maritime
         claim pursuant to Rule 9H of the Federal Rules of Civil Procedure. Any suit shall
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          be filed in the venue of Ft. Lauderdale, Broward County, Florida to the exclusion
          of any other venue or location where suit may otherwise be brought.

  Terms and Conditions of passage contract, attached hereto as Exhibit 1. (emphasis in original).

          3.      Given the clear and conspicuous language of the passage contract, Plaintiff is

  precluded from a jury trial. Baughan v. Royal Caribbean Cruises, Ltd., 944 F. Supp. 2d 1216

  (S.D. Fla. 2013), appeal dismissed (June 13, 2013). There is nothing complicated or legalistic

  about the language of the ticket contract, which Plaintiff received before embarking on her

  vacation cruise.

          4.      The terms and conditions in a non-negotiated cruise passage contract are

  enforceable regardless of the bargaining power involved in such an arrangement. See e.g.

  Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585 (1991); See also Collins v. Countrywide Home

  Loans, Inc., 680 F. Supp. 2d 1287, 1294 (M.D. Fla. 2010).

          5.      Finally, contrary to Plaintiff’s assertion, the Eleventh Circuit has not ruled that the

  party seeking to enforce a jury trial or the party opposing the jury trial bears the burden of proof.

  Collins v. Countrywide Home Loans, Inc., 680 F. Supp. 2d 1287, 1294 (M.D. Fla. 2010) (citing

  Allyn v. W. United Life Assur. Co., 347 F. Supp. 2d 1246, 1251 (M.D. Fla. 2004) (“[T]he

  Eleventh Circuit has not spoken on whether the party seeking to enforce the waiver or the party

  opposing the waiver bears the burden of proving the validity of the waiver itself. Circuit courts

  appear to be split on the issue.”).

          6.       Plaintiff should be precluded from a jury trial based upon this action arising out

  of maritime and admiralty jurisdiction and further based upon her agreement to the Terms and

  Conditions of the passage contract.

          WHEREFORE, based upon the foregoing, MSC respectfully requests that the Court enter

  an Order ruling that Plaintiff is not entitled to a jury trial in this case.



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                                                           Respectfully submitted:

                                                           MALTZMAN & PARTNERS, P.A.

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

  Court via CM/ECF on this 20th day of November 2014. I also certify that the foregoing was

  served on all counsel or parties of record on the attached Service List either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counsel or parties who are not authorized to receive electronic Notices of Filing.

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                                    SERVICE LIST
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